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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

       Plaintiff,
                                             Case No. 12-20372
 v.
                                             Hon. John Corbett O’Meara

 D-9 LYNN SANFORD,

      Defendant.
 _____________________________/

                    ORDER DETERMINING DEFENDANT
                      COMPETENT TO STAND TRIAL

       Defendant Lynn Sanford faces a drug conspiracy charge. After the

 indictment was issued in 2012, Sanford suffered a stroke in 2013. The parties

 agreed to have Sanford evaluated to determine whether he is competent to stand

 trial. Three licensed psychologists have examined Sanford and have provided

 reports: Emanuel Schreiber, Ph.D. (March 12, 2014); Jack P. Haynes, Ph.D.

 (September 19, 2014); and Ron Nieberding, Ph.D (December 30, 2014). The court

 held a competency hearing on September 23, 2015, and heard testimony from Dr.

 Schreiber and Sanford.

       Pursuant to 18 U.S.C. § 4241(a), a defendant or the government “may file a

 motion for a hearing to determine the mental competency of the defendant,” and
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 such a motion must be granted “if there is reasonable cause to believe that the

 defendant may presently be suffering from a mental disease or defect rendering

 him mentally incompetent to the extent that he is unable to understand the nature

 and consequences of the proceedings against him or to assist properly in his

 defense.” 18 U.S.C. § 4241(a). Prior to the hearing, the court may order that a

 psychiatric or psychological examination of the defendant be conducted, and that a

 report be filed with the court. 18 U.S.C. § 4241(b). Following the competency

 hearing, the court must, based upon a “preponderance of the evidence,” make a

 determination as to the defendant’s competency to stand trial. 18 U.S.C. § 4241(d).

        “[T]he bar for incompetency is high: a criminal defendant must lack either a

 ‘sufficient present ability to consult with his lawyer with a reasonable degree of

 rational understanding’ or ‘a rational as well as factual understanding of the

 proceedings against him.’” United States v. Miller, 531 F.3d 340, 350 (6th Cir.

 2008) (quoting Drope v. Missouri, 420 U.S. 162, 172 (1975) (internal quotation

 marks omitted)). “In determining a defendant’s competence, the court considers

 several factors, including ‘evidence of a defendant’s irrational behavior, [the

 defendant’s] demeanor at trial, and any prior medical opinion on competence to

 stand trial.’” Id.

        The evidence demonstrates that Sanford contends with memory problems


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 and low to low average measured intelligence. These deficits do not render

 Sanford incompetent to stand trial, however. Dr. Nieberding concluded that

 Sanford “appears to maintain a fundamentally accurate factual and rational

 understanding of the court proceedings and appears to possess the capacity to

 participate in cooperative interaction with his attorney at the present time.” Dr.

 Haynes opined that Sanford’s responses to questions designed to test his ability to

 consult with counsel and understand courtroom proceedings “were consistent with

 competency.” The court credits these opinions, which reflect more recent and

 thorough evaluations of Sanford than that done by Dr. Schreiber. By a

 preponderance of the evidence, the court finds Sanford competent to stand trail.

       SO ORDERED.

                                        s/John Corbett O’Meara
                                        United States District Judge
 Date: September 30, 2015


       I hereby certify that a copy of the foregoing document was served upon
 counsel of record on this date, September 30, 2015, using the ECF system.


                                        s/William Barkholz
                                        Case Manager




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